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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Nicole Jennings Wade, Jonathan
D. Grunberg, and G. Taylor
Wilson,

                        Plaintiffs,

v.                                      Case No. 1:22-cv-1073-MLB

L. Lin Wood,

                        Defendant.

________________________________/

                                 ORDER

     Plaintiffs and Defendant practiced law together for many years.

Their relationship soured when Plaintiffs started their own firm.

Plaintiffs claim Defendant owed them money, refused to pay, and bad-

mouthed them on social media. Plaintiffs say Defendant ultimately made

“accusations to his . . . 800,000 social media followers that Plaintiffs

committed the crime of extortion and attempted extortion when Plaintiffs

tried to privately resolve their disputes with” him. (Dkt. 1 ¶ 1.) Plaintiffs

sued Defendant for defamation.
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     At the start of the case, Plaintiffs sent the Court a letter flagging a

potential conflict of interest.        The letter explained that (1) the

undersigned used to work for Alston & Bird, LLP (“A&B”), (2) two A&B

attorneys represented Defendant during the separation of their legal

practices, (3) Plaintiffs’ counsel sent the A&B attorneys a settlement offer

(4) Defendant published that email on social media, characterizing it as

extortion, and (5) Defendant’s characterization of the settlement offer is

central to Plaintiffs’ defamation claims. Plaintiffs said they “believe” the

two A&B attorneys “will be material witnesses to this case,” which “may

create an irreconcilable conflict for [the undersigned] as the presiding

judge.”

     The Court immediately held a teleconference to discuss Plaintiffs’

letter and disclose more information about the undersigned’s connection

to A&B.      The parties discussed whether the A&B lawyers might be

witnesses about the email they received from Plaintiffs’ counsel and

Defendant later published. The Court directed the parties to provide any

other information that might cast doubt on the undersigned’s

impartiality or better establish the A&B attorneys as material witnesses.

Plaintiffs followed up with an email saying they have no “additional facts



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or circumstances to present” and “will be satisfied with whatever decision

[the Court] makes on this issue.” Defendant noted in a separate email

that he “intend[s] to pursue a legal malpractice claim against [A&B] in

the near future.” That threatened litigation is neither part of this matter

nor before the undersigned.1

     The basic rule on recusal is codified in 28 U.S.C. § 455(a). It says a

federal judge must “disqualify himself [or herself] in any proceeding in

which his [or her] impartiality might reasonably be questioned.” 28

U.S.C. § 455(a); see also Ga. Code of Judicial Conduct Rule 2.11(A). “The

test is whether an objective, disinterested, lay observer fully informed of

the facts underlying the grounds on which recusal was sought would

entertain a significant doubt about the judge’s impartiality.” McWhorter

v. City of Birmingham, 906 F.2d 674, 678 (11th Cir. 1990). Another

provision says a judge should recuse if the judge “served as a lawyer in

the matter in controversy, or a lawyer with whom the judge previously

practiced law served during such association as a lawyer concerning the




1The Court has attached Plaintiffs’ initial letter, Plaintiffs’ subsequent
email to the Court, and Defendant’s email as exhibits to this Order.


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matter, or the judge or lawyer has been a material witness concerning

it.” 28 U.S.C. § 455(b)(2).2

        The first two situations set forth in subsection (b)(2) do not apply

here.    And the third situation’s use of the past tense—“has been a

material witness”—means that would have had to happen during the

judge’s affiliation with the matter or with a lawyer who previously served

as a witness. It does not require recusal when a judge’s former colleagues

may be material witnesses in a new matter. The provisions thus do not

require the undersigned to recuse from this case.              None of the

undersigned’s former A&B colleagues have been material witnesses so

far. And at least at this point, the Court cannot see how anyone from

A&B is likely to become a material witness going forward—including the

two attorneys who represented Defendant in the early stages of his

dispute with Plaintiffs and received an email from Plaintiffs’ counsel. It




2 Another provision requires recusal if a judge’s relative is like to be a
material witness. 28 U.S.C. § 455(b)(iv); see Ga. Code of Judicial Conduct
Rule 2.11(A)(2)(d) (requiring recusal based on judge’s specific
relationship with material witness). No one suggests that is possible
here.


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is unclear whether those attorneys could provide any relevant, non-

privileged information. No such showing has been made.

     The undersigned does have ties to A&B. But based on the record

now before the Court, those ties are too attenuated to raise serious

questions about the Court’s impartiality. Recusal is not warranted under

the current facts. If that changes, the Court and the parties may revisit

the issue. The Court recognizes Plaintiffs have not moved for the Court’s

disqualification but issues this order to document the proceedings thus

far. The Court stayed the date by which Defendant must answer or

otherwise file a responsive pleading to the complaint pending resolution

of this issue. The Court now ORDERS Defendant to do so within 30 days

from the date of this order.

     SO ORDERED this 21st day of April, 2022.




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                               MICH"K E L L. B R O W N




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From:              Michael Glosup
To:                Jessica Kelley
Cc:                Andrew Beal; Milinda Brown; Ibrahim Reyes; Lin Wood
Subject:           Wade, et. al. v. Wood, CAF: 1:22-cv-01073-MLB
Date:              Wednesday, April 6, 2022 2:43:05 PM


CAUTION - EXTERNAL:

Dear Ms. Kelley,

Please see the below email from Andrew Beal to Judge Brown regarding the above-referenced
matter. We would appreciate if you would forward same to His Honor.

Thank you,

----------------


        Dear Judge Brown:

        Thank you very much for taking the time to conduct the telephone discussion with
        counsel regarding our email concerning recusal. We do not have any additional facts or
        circumstances to present to you above what was discussed last week.

        Again, we sincerely appreciate your making the time for us, and we are confident that
        we will be satisfied with whatever decision Your Honor makes on this issue.

        Thank you.

        ANDREW M. BEAL

        Buckley Beal, LLP
        Bank of America Plaza, Suite 3900
        600 Peachtree Street
        Atlanta, GA. 30308
        (404) 688-2685




                                                             
Michael L. Glosup, Senior Paralegal
Direct: 404-920-0344 | Fax: 404-688-2988 | Email: mglosup@buckleybeal.com
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when opening attachments or clicking on links.
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From:               Lin Wood
To:                 Jessica Kelley
Cc:                 Andrew Beal; Milinda Brown; Michael Glosup; Ibrahim Reyes
Subject:            Re: Wade, et. al. v. Wood, CAF: 1:22-cv-01073-MLB
Date:               Wednesday, April 6, 2022 2:55:09 PM


CAUTION - EXTERNAL:

Dear Ms. Kelley,

I am sorry that I was unable on short notice to attend the conference with Judge Brown last
week.

Please allow this email to serve as notification to Judge Brown that I have placed Alston Bird
on notice that I intend to pursue a legal malpractice claim against the firm in the near future.

Since Mr. Beal has raised concerns about Alston Bird partners as potential witnesses in this
litigation, I felt it appropriate to share this information with the Court.

Thank you and God bless you.

Lin

L. Lin Wood
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E-Mail: lwood@linwoodlaw.com


       On Apr 6, 2022, at 2:43 PM, Michael Glosup <mglosup@buckleybeal.com>
       wrote:


       ﻿
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       Thank you,

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           confident that we will be satisfied with whatever decision Your Honor
           makes on this issue.

           Thank you.

           ANDREW M. BEAL

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           Bank of America Plaza, Suite 3900
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